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                            Simcoe Ex. L
          (Google’s Proposed Redactions)
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                                                   Page 18                                                     Page 19
    1   use RASTA?                                              1   will typically go through RASTA.
    2          A.      I couldn't speak to all product teams    2          Q.      Does Ariane identify launches that
    3   for -- across all of Google.                            3   include summaries of each launch?
    4          Q.      What about for display advertising?      4          A.      Yes.
    5          A.      For within display ads, there are        5          Q.      Does each Ariane document also
    6   some cases where RASTA is not used for every launch.    6   contain links to other documents and sources?
    7          Q.      Is there something else used instead?    7                  ATTORNEY McCALLUM: Object to form.
    8          A.      For -- could you clarify if there is     8                  The witness can answer.
    9   something used for a particular purpose?                9          A.      It may contain a variety of links
   10          Q.      If RASTA is not used for a launch, is   10   within each ticket.
   11   there another similar database that the Google team    11          Q.      Does it link to experimental results
   12   uses?                                                  12   contained in RASTA?
   13          A.      Let's see. I think, first, I would      13          A.      For the launches that use RASTA,
   14   consider RASTA a tool rather than a database, but,     14   there would be links.
   15   second, RASTA has a specific purpose of evaluating     15          Q.      Are there any successor databases to
   16   metrics for changes within the ad serving system.      16   RASTA?
   17   There are a variety of other launches and a variety    17          A.      Successor databases. Could you
   18   of other considerations that might be used when        18   clarify?
   19   evaluating those launches, and so RASTA isn't always   19          Q.      Are there any databases or tools that
   20   appropriate as a tool.                                 20   came into use later in time after RASTA that serve a
   21          Q.      I think I understand.                   21   similar purpose?
   22                  So is RASTA used to evaluate the        22          A.      No.
   23   metrics for all changes within the ad serving          23          Q.      Is the same true for Ariane?
   24   system?                                                24          A.      Ariane was replaced by the launch
   25          A.      Anything that's run as an experiment    25   tool providing similar functionality.

                                                   Page 20                                                     Page 21
    1          Q.      What is a launch tool called?            1   summary in description.
    2          A.      Launch.                                  2          Q.      In Ariane?
    3          Q.      Launch?                                  3          A.      Yes.
    4          A.      Yeah.                                    4          Q.      Do Ariane and Launch contain
    5          Q.      When was Launch introduced?              5   summaries of experimental results?
    6          A.      I don't recall the specific timing,      6          A.      It may vary from launch to launch.
    7   and say within the last few years. I think roughly      7   It depends on the specifics of the launch.
    8   2020 or 2021, thereabouts.                              8          Q.      Is Launch generally seen as an
    9          Q.      Why did Launch replace Ariane?           9   improvement over Ariane?
   10          A.      I don't know the specifics for the      10                  ATTORNEY McCALLUM: Object to form.
   11   rewrite of the tool.                                   11                  The witness can answer.
   12          Q.      How is Launch different from Ariane?    12          A.      I don't really have a sense of the
   13                  ATTORNEY McCALLUM: Object to form.      13   company's company-wide sentiment.
   14                  The witness can answer.                 14          Q.      I understand.
   15          A.      There is differences in UI,             15                  Do you like it better?
   16   differences in the configurability, and I believe      16          A.      Do I like it better? It feels
   17   that there are abilities to have more -- more          17   roughly equivalent to me from a functionality
   18   standard policies and practices governed at the        18   perspective.
   19   Google level.                                          19          Q.      The summaries that are in Ariane or
   20          Q.      What is UI?                             20   Launch, where do they come from? Does somebody
   21          A.      User interface.                         21   write them?
   22          Q.      Do employees at Google use Ariane or    22          A.      Yes.
   23   Launch as a kind of summary or overview of             23          Q.      Who writes them?
   24   experiments?                                           24          A.      This is typically done in
   25          A.      Yes. The Launch tool can contain a      25   collaboration by the person who creates the launch
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   GOOGLE
                                                   Page 22                                                     Page 23
    1   ticket and the project owners.                          1          A.      It's possible that some of the
    2          Q.      Who uses the summaries?                  2   artifacts provided would link to information.
    3          A.      The reviewers will use the summaries.    3          Q.      Does RASTA run experiments on live
    4          Q.      What is the function of the summary      4   Web traffic?
    5   beyond just the result of the experiment?               5          A.      Yes.
    6          A.      It describes the change and provides     6          Q.      Does RASTA pick samples from live Web
    7   a record of the kinds of product changes that we're     7   traffic?
    8   making.                                                 8          A.      Technically, it's a different
    9          Q.      Does RASTA show the quantitative         9   system -- experimentation system that does the
   10   results of the experiments?                            10   sampling, but conceptually, yes.
   11          A.      Yes, when available.                    11          Q.      What is the system that does the
   12                  (Stenographer clarification.)           12   sampling?
   13          Q.      Does RASTA show the quantitative        13                  ATTORNEY McCALLUM: Objection.
   14   results of the experiments?                            14   Beyond the scope. That is topic 7C rather than 7D,
   15          A.      Yes, when available.                    15   but the witness can answer.
   16          Q.      If I want to know why an experiment     16          A.      It's an experiment framework. It's
   17   was run, where would I look?                           17   called the experiment framework.
   18                  ATTORNEY McCALLUM: Object to form.      18          Q.      What is the function of the
   19                  The witness can answer.                 19   experiment framework?
   20          A.      I think I couldn't really speculate     20          A.      It manages the configuration around
   21   as to the origination of all of the experiments in     21   changes and performs some of that random selection
   22   terms of the motivations and why.                      22   of different experiments.
   23          Q.      Might the summary show why an           23          Q.      Are RASTA experiments randomized?
   24   experiment was run?                                    24          A.      Yes.
   25                  ATTORNEY McCALLUM: Object to form.      25          Q.      Circling back, how would you find out

                                                   Page 24                                                     Page 25
    1   what the motivation was for performing an               1   ensure the experiment accuracy?
    2   experiment?                                             2                  ATTORNEY McCALLUM: Object as beyond
    3                  ATTORNEY McCALLUM: Object to form.       3   the scope, but the witness can answer.
    4          A.      I couldn't speculate for or state for    4          A.      Not within RASTA.
    5   all experiments. There's hundreds to a thousand,        5          Q.      In the experiment framework?
    6   thousands of experiments that we run across display     6          A.      In the experiment framework, that
    7   ads.                                                    7   also remains largely within the random traffic
    8          Q.      Does Google try to design RASTA          8   selection.
    9   experiments to be as accurate as possible in a          9          Q.      In each RASTA experiment, is the
   10   scientific method kind of way?                         10   traffic that receives the experimental treatment
   11                  ATTORNEY McCALLUM: Object to form.      11   chosen randomly from the population that was
   12          A.      We try to make sure that we have        12   eligible to participate in the experiment?
   13   statistical confidence within the metrics and that     13                  ATTORNEY McCALLUM: Object as beyond
   14   there is sound data behind it.                         14   the scope of the deposition, but the witness can
   15          Q.      What else does Google do to try to      15   answer.
   16   make sure that you have statistical confidence         16          A.      I didn't understand the difference
   17   behind the metrics?                                    17   between that and the question around traffic
   18                  ATTORNEY McCALLUM: Object to form.      18   selection being random.
   19          A.      I'm not sure I understand the intent    19          Q.      If your answer is the same, that's
   20   of the question beyond --                              20   okay.
   21          Q.      You mentioned before that RASTA         21          A.      Okay. I believe the answer is yes,
   22   experiments are randomized?                            22   that it's chosen randomly from the population.
   23          A.      Uh-huh.                                 23          Q.      Are RASTA experiments blinded?
   24          Q.      Are there other design elements of      24                  ATTORNEY McCALLUM: The same
   25   RASTA experiments that are standardized that help      25   objection regarding scope of the deposition, but the


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                                                   Page 26                                                     Page 27
    1   witness can answer.                                     1                    for a ramp-up stage.
    2          A.      I don't understand the term              2          Q.      If the volume of Google's
    3   "blinded."                                              3   transactions were significantly smaller, would it
    4          Q.      Are experiment participants aware        4   impact its ability to run experiments?
    5   that they are participating in an experiment?           5                  ATTORNEY McCALLUM: Object to form.
    6          A.      No.                                      6          A.      I'm not a statistician, so I wouldn't
    7          Q.      If experiment results were to show,      7   know about the impact of the statistical confidence.
    8   for example, that a publisher had received less         8          Q.      What is an experimental unit?
    9   money than anticipated, does Google compensate the      9          A.      I haven't heard the term before.
   10   publisher?                                             10          Q.      Okay. Why would a decision-maker
   11                  ATTORNEY McCALLUM: Object to form.      11   choose to run an experiment for a longer than
   12          A.      Yeah, that would be outside of the      12   standard period?
   13   policies and practices.                                13                  ATTORNEY McCALLUM: Object to form.
   14          Q.      What sizes are the experiment group     14          A.      There might be a variety of reasons
   15   in RASTA typically?                                    15   why a decision-maker would want to run an experiment
   16          A.      It may vary depending on the stage of   16   longer.
   17   experimentation. It frequently will ramp-up and        17          Q.      Could you please name a few?
   18   start from less than          , and depending on the   18          A.      Most likely if they wanted to see
   19   amount of data, it may go up towards          .        19   more data, if there was inconclusive evidence from
   20          Q.      How long is the ramp-up period?         20   the period run so far.
   21                  ATTORNEY McCALLUM: I'll object to       21          Q.      Is there any reason why a
   22   this line of questioning as going beyond the scope     22   decision-maker would choose to run an experiment for
   23   of the agreed testimony. These are questions going     23   a shorter period?
   24   towards topics 7B and C, but the witness can answer.   24          A.      Likewise, if there is already
   25          A.      Many of the guidelines give around      25   confidence within results, that might be one reason

                                                   Page 28                                                     Page 29
    1   they may run for a shorter period, that there is        1   BY ATTORNEY HANSEN:
    2   nothing new to learn.                                   2          Q.      Now, I would like to hand you a
    3          Q.      Is there something like a confidence     3   document and ask you some questions about it.
    4   interval that applies to experiments?                   4                  ATTORNEY HANSEN: Tab two, please.
    5          A.      Yes.                                     5                  CERTIFIED STENOGRAPHER: Number one.
    6          Q.      Can you describe it?                     6   BY ATTORNEY HANSEN:
    7          A.      The confidence interval is something     7          Q.      The document is being marked Hsueh
    8   that is serviced in RASTA, and it provides a            8   exhibit one.
    9   statistical measure of our confidence within the        9                  It begins on a page with a Bates
   10   results that are shown.                                10   number GOOG-DOJ-AT-02204351.
   11          Q.      Does it have a standard value?          11                  It's titled: Changes to Ad Manager,
   12          A.      I don't think I understand that, the    12   AdMob auction DVA Review, September 2019.
   13   question, standard value.                              13          A.      Just give me a moment to flip
   14          Q.      My apologies.                           14   through.
   15                  Is there a standard confidence          15          Q.      Just please take a moment.
   16   interval used by Google for experiment?                16          A.      Should I continue flipping through?
   17          A.      Oh, I see.                              17   It's a pretty long document.
   18                  I, again, not being within the          18          Q.      It is pretty long.
   19   statistician side, don't know about the details of     19                  All right. Have you generally
   20   how that's implemented.                                20   familiarized yourself with the document?
   21          Q.      Great.                                  21          A.      Yes, through most of the major
   22                  (Whereupon, document                    22   sections.
   23   GOOG-DOJ-AT-02204351 through 02204391, is received     23          Q.      Do you recognize this document?
   24   and marked as Exhibit 1 for Identification.)           24          A.      I do not.
   25                                                          25          Q.      Do you have any reason to doubt that
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   GOOGLE
                                                   Page 30                                                     Page 31
    1   it is a true and accurate copy?                         1   Sinaniyev, and Jay, my boss.
    2          A.      I do not, not having seen the            2          Q.      I'd like to turn to the page that's
    3   document before.                                        3   titled: Agenda, on page ending 4352.
    4          Q.      Great.                                   4                  The green box says: Ask, approval to
    5                  What is DVA review? Are you familiar     5   complete about 100 percent sell-side transition to a
    6   with it?                                                6   new auction model in two weeks.
    7          A.      Yes. It is a review form for display     7                  What does that mean?
    8   and video ads.                                          8                  ATTORNEY McCALLUM: Object as beyond
    9          Q.      What is its function?                    9   the scope of topic 7D, but the witness can answer.
   10          A.      It's to make decisions across the       10          A.      Yeah, like I said, this is the first
   11   display of video and app ads business.                 11   time I'm seeing the document, and I wasn't
   12          Q.      Who is on it?                           12   intimately familiar with this project or review, so
   13          A.      The -- it would typically be senior     13   not sure what the authors intended in terms of the
   14   leadership amongst that organization.                  14   decision.
   15          Q.      Who would some of those people have     15          Q.      Now, I'd like to turn to page ending
   16   been in September 2019?                                16   4360. This slide is titled: Unified Pricing
   17                  ATTORNEY McCALLUM: Object to form as    17   Meaningfully Improves Inventory Access by Leveling
   18   beyond the scope of topic 7D.                          18   the Playing Field; is that correct?
   19                  The witness can answer.                 19                  ATTORNEY McCALLUM: Object to the
   20          A.      Yeah, I think I wouldn't know this --   20   form and object as beyond the scope of topic 7D.
   21   don't recall the specific individuals in 2019. It      21                  The witness can answer.
   22   typically would have been vice-presidents of           22          A.      That appears to be the title of this
   23   engineering and product.                               23   slide.
   24          Q.      Who are those people today?             24          Q.      This page is mostly occupied by a
   25          A.      That would be Tim Craycroft, and Vlad   25   table, and I'd like to ask more about the table.

                                                   Page 32                                                     Page 33
    1                 What is the source of this material?      1   display advertising?
    2                 ATTORNEY McCALLUM: The same               2          A.      I don't think I would be able to
    3   objection.                                              3   determine that from this screenshot.
    4                  The witness can answer.                  4          Q.      Can you determine when the experiment
    5          A.      Again, first time seeing this            5   was performed?
    6   document. So I don't really know, but it appears to     6          A.      No, I cannot.
    7   be a screenshot from RASTA.                             7          Q.      Can you determine how long the
    8          Q.      In general, would RASTA look             8   experiment would have taken?
    9   different if viewed directly rather than viewing a      9          A.      No.
   10   screenshot?                                            10          Q.      Can you determine what proportion of
   11          A.      The UI here would be similar and the    11   traffic the experiment used?
   12   types of information would be similar.                 12                  ATTORNEY McCALLUM: Could you clarify
   13          Q.      Would this have captured the results    13   that question, counsel?
   14   from RASTA accurately?                                 14          Q.      What proportion of live Web traffic
   15                  ATTORNEY McCALLUM: Object to form.      15   this experiment used?
   16          A.      I couldn't say without knowing how it   16          A.      No, I couldn't determine that from
   17   was produced.                                          17   the screenshot.
   18          Q.      Does this table seem to show the        18          Q.      If it was an experiment that occurred
   19   results of an experiment performed by Google?          19   within the standard guidelines you described
   20          A.      Yes, it appears so.                     20   earlier, how long would it have taken?
   21          Q.      Did the experiment use live Web         21                  ATTORNEY McCALLUM: Object to form.
   22   traffic?                                               22          A.      Yeah, I couldn't really speculate for
   23          A.      I -- I couldn't say, but I would        23   the experiment, but again, generally, we would run
   24   expect so.                                             24   for one to two weeks.
   25          Q.      Was the web traffic only for open Web   25          Q.      And in general, what proportion of


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                                                              Page 70                                                          Page 71
    1   than I'm familiar with.                                          1   respect to plaintiff's assertions that any other
    2          Q.      Okay. I have no further questions                 2   Google witnesses were insufficiently prepared.
    3   about this document. Thanks.                                     3                  ATTORNEY HANSEN: Okay. Off the
    4                  ATTORNEY HANSEN: Sorry, that was                  4   record, please.
                                                                         5                  THE VIDEOGRAPHER: All right. If
    5   kind of fast.
                                                                         6   that is everything, off the record on November 15,
    6                  Okay. That concludes my questioning
                                                                         7   2023 at 12:35.
    7   today. Thank you very much, Mr. Hsueh.                           8                  (Time noted: 12:35 p.m.)
    8                  Counsel, for the record, the U.S. has             9
    9   held other portions of the 30(b)(6) deposition open             10                              ________________________
   10   based on the lack of preparation of the designated                                              JASON HSUEH
   11   witnesses. We intend to use the balance of the time             11
   12   and may use additional time as the Court permits to             12   Subscribed and sworn to before me
                                                                        13   this _____ day of ____________ 2023.
   13   remedy that deficiency. For the record, the U.S.
                                                                        14
   14   has --
                                                                        15
   15                  THE VIDEOGRAPHER: We're at one hour                   ______________________________
   16   38, so --                                                       16   Notary Public
   17                  ATTORNEY HANSEN: The U.S. has 26                      My Commission Expires:
   18   minutes on the record.                                          17
   19                  ATTORNEY McCALLUM: And just for                  18   /
   20   clarity, can I ask counsel, are you contending that             19   /
   21   this witness was insufficiently prepared as a                   20
                                                                        21
   22   corporate representative?
                                                                        22
   23                  ATTORNEY HANSEN: No, sir, I'm not.               23
   24                  ATTORNEY McCALLUM: Okay. And we                  24
   25   obviously disagree and reserve all rights with                  25

                                                              Page 72                                                          Page 73
    1         I wish to make the following changes, for the              1   PAGE LINE

    2   following reasons:                                               2   ____ ____   CHANGE: ___________________________

    3   PAGE LINE                                                        3               REASON: ___________________________

    4   ____ ____   CHANGE: ___________________________                  4   ____ ____   CHANGE: ___________________________

    5               REASON: ___________________________                  5               REASON: ___________________________

    6   ____ ____   CHANGE: ___________________________                  6   ____ ____   CHANGE: ___________________________

    7               REASON: ___________________________                  7               REASON: ___________________________

    8   ____ ____   CHANGE: ___________________________                  8   ____ ____   CHANGE: ___________________________

    9               REASON: ___________________________                  9               REASON: ___________________________

   10   ____ ____   CHANGE: ___________________________                 10   ____ ____   CHANGE: ___________________________

   11               REASON: ___________________________                 11               REASON: ___________________________

   12   ____ ____   CHANGE: ___________________________                 12   ____ ____   CHANGE: ___________________________

   13               REASON: ___________________________                 13               REASON: ___________________________

   14   ____ ____   CHANGE: ___________________________                 14   ____ ____   CHANGE: ___________________________

   15               REASON: ___________________________                 15               REASON: ___________________________

   16   ____ ____   CHANGE: ___________________________                 16   ____ ____   CHANGE: ___________________________

   17               REASON: ___________________________                 17               REASON: ___________________________

   18   ____ ____   CHANGE: ___________________________                 18   ____ ____   CHANGE: ___________________________

   19               REASON: ___________________________                 19               REASON: ___________________________

   20   ____ ____   CHANGE: ___________________________                 20   ____ ____   CHANGE: ___________________________

   21               REASON: ___________________________                 21               REASON: ___________________________

   22                                                                   22   ____ ____   CHANGE: ___________________________

   23                                                                   23               REASON: ___________________________

   24                                                                   24

   25                                                                   25
  UNITED
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   GOOGLE
                                                              Page 74
    1                   C E R T I F I C A T E
    2                  I, RICHARD GERMOSEN, Fellow of the
    3   Academy of Professional Reporters, stenographic New
    4   Jersey Certified Court Reporter, New Jersey Certified
    5   Realtime Court Reporter, California Certified
    6   Shorthand Reporter, California Certified Realtime
    7   Reporter, NCRA Registered Diplomate Reporter, and
    8   NCRA Certified Realtime Reporter, do hereby certify:
    9                  That JASON HSUEH, the witness whose
   10   deposition is hereinbefore set forth, having been
   11   duly sworn, and that such deposition is a true
   12   record of the testimony of said witness.
   13                  I further certify that I am not related
   14   to any of the parties to this action by blood or
   15   marriage, and that I am in no way interested in the
   16   outcome of this matter.
   17                  IN WITNESS WHEREOF, I have hereunto set
   18   my hand this 15th day of November 2023.
   19
   20   ________________________________________________
        RICHARD GERMOSEN,
   21   FAPR, RDR, CRR, CCR-NJ, CRCR, CSR-CA, CCRR-CA,
        NYACR, NYRCR
   22   LICENSE NO. 30XI00184700
        LICENSE NO. 30XR00016800
   23   California CSR No. 14391
        California CRR No. 198
   24
   25




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